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                        Exhibit 1
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Validate the Vote 2020

Goal
To ensure the 2020 election returns reflect one vote cast by one eligible voter and thereby protect the
right to vote and the integrity of the election.
                                                                                                                                    TEAM
Problem
There is significant evidence that there are numerous instances of illegal ballots being cast and
counted in the 2020 general election. Most of these illegal votes are being counted in Democrat                            True the Vote
counties and are suppressing legitimate results.                                                                  Catherine Engelbrecht
                                                                                                                                   President
This is a result of Democrat officials refusal to obey state election laws and counting illegal votes. It is
also the result of deliberate election fraud. This situation has been aided by the Democrat’s deliberate                             Legal
effort to radically expand mail-in balloting, creating myriad opportunities for voter fraud that does                             Jim Bopp
not exist with in-person voting.                                                                                True the Vote General Counsel

Furthermore, this flood of illegal votes violates the U.S. Constitution's right to vote by diluting the                    Public Affairs
votes of legitimate voters.                                                                                              David Polyansky
                                                                                                                                 Principal
                                                                                                                        Catherine Frazier
Plan                                                                                                                             Principal
• Solicit whistleblower testimonies from those impacted by or involved in election fraud - True the
 Vote                                                                                                               Data and Research
• Build public momentum through broad publicity - True the Vote                                                         OPSEC Group
• Galvanize Republican legislative support in key states - True the Vote                                                    Gregg Phillips
                                                                                                                                   President
• Aggregate and analyze data to identify patterns of election subversion - OPSEC Group
• File lawsuits in Federal Court with capacity to be heard by SCOTUS - True the Vote
                                                                                                                      Funding Estimate
Tactical Organizing: National, State, with micro-targeting in key counties                                      Whistleblower Campaign
                                                                                                                            $2,000,000
Key States: Arizona, Nevada, Georgia, North Carolina, Pennsylvania, Michigan, Wisconsin
                                                                                                                       Data and Research
                                                                                                                               $1,750,00
Legal Strategy
                                                                                                                                 Litigation
Jim Bopp, True the Vote General Counsel, lead attorney in Bush v. Gore and Citizens United, will file           District Courts $2,500,00
federal suits in the seven closest battleground states to investigate voter fraud, expose it, and to                    Appeals $375,000
nullify the results of the state's election, so that the Presidential Electors can be selected in a special            US Supreme Court
election or by the state legislature.                                                                                           $700,000

Step 1: A federal civil rights lawsuit will be filed in each targeted state. This will provide the vehicle to
serve subpoenas on state election officials to produce critical election data.
                                                                                                                              Total Effort
                                                                                                                              $7,325,000
Step 2: Along with publicly available data, the produced election data will be analyzed to identify both
illegal voters and illegal votes.
                                                                                                                       Funding Vehicles
Step 3: If sufficient election fraud is proven, making the results of the election doubtful, the lawsuit                   True the Vote
                                                                                                                        Non-Profit 501c3
will seek to have the state's election results overturned, leading to a special election, to selection of
Presidential Elector by the state legislature, or to the selection the President by the U.S. House of                      OPSEC Group
Representatives.                                                                                                   Limited Liability Corp.
